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                UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION

UNITED STATES OF AMERICA, )
                          )
    Plaintiff,            )
                          )                   CIVIL ACTION FILE
v.                        )
                          )                   NO. 1:16-CV-03088-ELR
STATE OF GEORGIA,         )
                          )
    Defendant.            )

STATE DEFENDANT’S MOTION FOR LEAVE TO FILE UNDER SEAL

      Pursuant to Appendix H and this Court’s Amended Protective Order

[Doc. 118], Defendant, State of Georgia (the “State”), by and through its

counsel of record submits this Motion for Leave to File Under Seal the

following documents: (1) the expert report of Amy McCart, Ph.D. (“McCart

Report”), and (2) a redacted version of Defendant’s Statement of Undisputed

Material Facts containing direct quotes from the McCart Report. The entire

McCart Report was designated as confidential by Plaintiff as it contains

information protected under the Family Educations Rights and Privacy Act

(“FERPA”), 20 U.S.C. § 1232(g). The McCart Report is referenced as Exhibit

E in the State’s Statement of Undisputed Material Facts.
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    The State attached a proposed order sealing that filing herewith.

    Respectfully submitted this 7th day of November, 2023.

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                    CERTIFICATE OF COMPLIANCE

      Pursuant to Local Rule 7.1(D), I hereby certify that the foregoing

STATE DEFENDANT’S MOTION FOR LEAVE TO FILE UNDER SEAL

was prepared double-spaced in 13-point Century Schoolbook font, approved

by the Court in Local Rule 5.1(C).

                              /s/Josh Belinfante
                              Josh Belinfante
